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                                                                       The Honorable Samuel J. Steiner
 2                                                                                           Chapter 7
                                                              Hearing Location: Courtroom 8206, Seattle
 3                                                                        Hearing Date: April 30, 2010
                                                                                Hearing Time: 9:30 a.m.
 4                                                                      Response Date: April 23, 2010
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 8                          UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF WASHINGTON
 9                                    AT SEATTLE
10 In Re:                                         )       Chapter 7
                                                  )       No. 09-15167
11          JACK CARLTON CRAMER JR.               )
                                                  )       NOTICE AND MOTION
12                                                )       TO ABANDON CLAIM
                                                  )
13                                 Debtors.       )
                                                  )
14
                                                  NOTICE
15
     TO:    Debtor, Creditors, and Other Interested Parties
16
     And to: Clerk of the Court
17
            YOU AND EACH OF YOU are hereby given notice that the Trustee’s Motion for Order to
18
     Abandon Claim will be heard by the court as follows:
19
            JUDGE: Samuel J. Steiner              TIME: 9:30 a.m.
20          PLACE: Courtroom 8206                 DATE: April 30, 2010
                   U.S. Courthouse
21                 700 Stewart Street
                   Seattle, WA 98101
22                                         Objections/Responses
23          Any responses or objections to the motion must be in writing, with the original filed with the
24 Clerk of the Bankruptcy Court, Room 6301, 700 Stewart Avenue, Seattle, Washington 98101, prior
25 to the response date which is April 23, 2010. Failure to comply with this local rule may be deemed
26 by the court as opposition without merit. If you are an attorney, your response or objection must be
27 filed electronically on the Court’s CM/ECF system. A copy should be delivered to the chambers of
28 the judge hearing this matter, a copy served on the United States Trustee, Room 5103, 700 Stewart
     NOTICE AND MOTION - 1
                                                                                     RONALD G. BROWN
                                                                                          ATTORNEY AT LAW
                                                                                      2525 WELLS FARGO CENTER
                                                                                           999 THIRD AVENUE
                                                                                     SEATTLE, WASHINGTON 98104
                                                                                       (206) 342-7850 TELEPHONE
Case 09-15167-SJS        Doc 36     Filed 04/02/10      Ent. 04/02/10 17:20:37       Pg. 1 of 3
                                                                                        (206)342-7851 FACSIMILE
 1 Avenue, Seattle, Washington 98101, and a copy served on the Trustee at the address shown in the
 2 lower right hand corner of this Notice or via ECF. If responsive pleadings are not filed as stated
 3 above, the hearing may be stricken and an order granting the relief requested in the motion may be
 4 presented, without further notice, to the court ex-parte prior to the scheduled hearing.
 5                                               MOTION
 6          COMES NOW the Chapter 7 Trustee, Ronald G. Brown, and moves this court pursuant to 11
 7 U.S. C. §554 and BR 6007(a) for an order abandoning the bankruptcy estate’s interest in a claim
 8 against Countrywide Home Loans and Land Safe Title of Washington.
 9          The debtor filed Chapter 7 proceedings on May 28, 2009. On his schedules of assets, the
10 debtor listed a damage claim against Countrywide Home Loans and Land Safe Title of Washington
11 caused by breach of a settlement agreement in July, 2003, in King County Superior Court under Case
12 No. 02-2-23019-9 SEA. The debtor’s schedules state that the “value of this claim is substantial but
13 unliquidated.” The debtor has not responded to the trustee’s request for evidentiary documentation
14 of the claim.
15          Residential Funding Real Estate Holding LLC , claiming to be a secured creditor, obtained
16 an order for relief from stay on March 31, 2010 from the Bankruptcy Court to foreclose, against the
17 debtor’s residential real property at 15605 63rd Avenue NE in Kenmore, Washington. In its motion
18 for relief from stay, it represented that it is the holder of the original promissory note by various
19 assignments of the note, including from Countrywide. The debtor objected to the motion and raised
20 a number of issues. It appears from the record that there may be little or no equity in the property
21 according to the claims of Residential Funding Real Estate Holding LLC. It also appears that, even
22 if the debtor might prevail on a damage claim, such a claim would be an offset to any secured claims
23 against the real property, and would not necessarily yield funds that would be generally available to
24 pay other creditors.
25          Under the circumstances, without further documentation of the claim, it appears that there
26 would be little or no recovery for general unsecured creditors from pursuit of any claim and that the
27 claim is of minimal value or is burdensome to administer for the bankruptcy estate. Therefore, trustee
28 requests that the court enter an order authorizing abandonment.
     NOTICE AND MOTION - 2
                                                                                    RONALD G. BROWN
                                                                                         ATTORNEY AT LAW
                                                                                     2525 WELLS FARGO CENTER
                                                                                          999 THIRD AVENUE
                                                                                    SEATTLE, WASHINGTON 98104
                                                                                      (206) 342-7850 TELEPHONE
Case 09-15167-SJS         Doc 36    Filed 04/02/10     Ent. 04/02/10 17:20:37       Pg. 2 of 3
                                                                                       (206)342-7851 FACSIMILE
 1       DATED this 2nd day of April, 2010.
 2
                                              /s/ Ronald G. Brown
 3                                            Ronald G. Brown, WSBA #8816
                                              Chapter 7 Trustee
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     NOTICE AND MOTION - 3
                                                                            RONALD G. BROWN
                                                                                 ATTORNEY AT LAW
                                                                             2525 WELLS FARGO CENTER
                                                                                  999 THIRD AVENUE
                                                                            SEATTLE, WASHINGTON 98104
                                                                              (206) 342-7850 TELEPHONE
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